Case 1:25-cv-00039-JJM-PAS   Document 68-96   Filed 02/07/25   Page 1 of 4 PageID
                                   #: 5015




                  Thomas-Jensen
                   Affirmation



                      Exhibit # 96
Case 1:25-cv-00039-JJM-PAS   Document 68-96   Filed 02/07/25   Page 2 of 4 PageID
                                   #: 5016
Case 1:25-cv-00039-JJM-PAS   Document 68-96   Filed 02/07/25   Page 3 of 4 PageID
                                   #: 5017
Case 1:25-cv-00039-JJM-PAS   Document 68-96   Filed 02/07/25   Page 4 of 4 PageID
                                   #: 5018
